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Exhibit A
Name of Claimant Date Filed Short Form Document #
Batiste, Danny 5/11/2011 85305
Volkmer, Steven 5/11/2011 85299
Viands, Matthew 5/17/2011 86441
Webb's World Industries 5/17/2011 86463
Tulli, Joseph 5/27/2011 98116
Miller, Stanley | 6/15/2011. 106874
Carpenter Plumbing 6/15/2011 106875
Bayer, Nicholas 7/1/2011 106935
Winchester Construction 7/1/2011. 106936
Winchester, Selina 7/1/2011 106938
Unistar Management, Inc 7/1/2011 106937
Unistar Management USA 7/1/2011 106939
Florida Coast Holdings 8/4/2011 107260
Kenner Kourier Services, Inc 8/4/2011. 107259
Bickman, Deanna 9/1/2011 107463
Bickman, Hamilton 9/1/2011 107461
Shaw, Adam | 9/7/2011 107489
Trevino, Juan 9/7/2011 107490
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Jungle Café and Bar 9/9/2011 _ 107516
Griggs, Ryan J. 9/23/2011. 108602
Linton-Griggs, Jamie 9/23/2011. 108603
Stirling, Perry 9/23/2011 108604
VHF Group, LLC | 9/23/2011 108605
Willner, James 10/4/2011 108978
Rivera, Jose 10/4/2011 108979
Parnell, Stevie 10/4/2011. 108980
Mettille, Christopher 10/4/2011 108981
Martin, Mark 10/4/2011 108982
Lowrey, Benjamin 10/4/2011 108983
Hofacker, Brad T. 10/4/2011 108984
Felder, Charles B. 10/4/2011 108985
SPI Dolphin Docks | 10/4/2011 108986
Padre Crew Boats 10/4/2011 / 108987
Explorer Marine Logistic 10/4/2011 108988
Bukosky, Michael 10/4/2011 108989
Camblor, Gonzalo 10/4/2011 108990

